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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                   )
 In re:                                            )
                                                     Chapter 11
                                                   )
 PROMISE HEALTHCARE GROUP, LLC,                    )
                                                     Case No. 18-12491 (CTG)
                                                   )
                  Debtors.                         )
                                                   )

                          NOTICE OF SUBSTITUTION OF COUNSEL

          PLEASE WITHDRAW the appearance of Brenna A. Dolphin, Esquire with Polsinelli PC;

and

          PLEASE ENTER the appearance of Christopher A. Ward, Esquire of Polsinelli PC, 222

Delaware Avenue, Suite 1101, Wilmington, Delaware, 19801 as counsel on behalf of C. Randolph

Tillman and Christopher H. Cheek.

          In addition, please remove Brenna A. Dolphin, Esquire from all service lists.

Dated: November 27, 2023                       POLSINELLI PC
       Wilmington, Delaware

                                               /s/ Christopher A. Ward
                                               Christopher A. Ward (Del. Bar No. 3877)
                                               222 Delaware Avenue, Suite 1101
                                               Wilmington, Delaware 19801
                                               Telephone: (302) 252-0920
                                               Facsimile: (302) 252-0921
                                               cward@polsinelli.com

                                               Counsel for C. Randolph Tillman and Christopher
                                               H. Cheek
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                                CERTIFICATE OF SERVICE

       I, Christopher A. Ward, Esquire, of Polsinelli PC, hereby certify that on November 27,

2023, I electronically filed the foregoing Notice of Substitution of Counsel with the Clerk of the

Court using CM/ECF which will send notification of such filing to all parties entitled to notice

under Rule 2002 of the Federal Rules of Bankruptcy Procedure and Local Rule 9010-2 of the Local

Rules of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the District

of Delaware.


                                               /s/ Christopher A. Ward
                                               Christopher A. Ward (Del. Bar No. 3877)
